           Case 1:18-cv-01880-EGB Document 105 Filed 08/26/19 Page 1 of 2




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST


                                            )
ORACLE AMERICA, INC.,                       )
                                            )
               Plaintiff,                   )
                                            )
       v.                                   )
                                            )
THE UNITED STATES,                          )       Case No. 18-1880C
                                            )       Senior Judge Eric G. Bruggink
               Defendant,                   )
                                            )
       and                                  )
                                            )
AMAZON WEB SERVICES, INC.,                  )
                                            )
               Defendant-Intervenor.        )
                                            )

                            PLAINTIFF'S NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Oracle America, Inc. ("Oracle") appeals this Court's

July 12, 2019 Order (ECF No. 99), July 19, 2019 Opinion and Order (ECF No. 100), and the

associated entry of Judgment (ECF No. 101) to the United States Court of Appeals for the Federal

Circuit.

 Dated: August 26, 2019                    Respectfully Submitted,

 Of Counsel:                               ARNOLD & PORTER KAYE SCHOLER LLP

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        Case 1:18-cv-01880-EGB Document 105 Filed 08/26/19 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of August 2019, I caused a true and correct copy of

the foregoing Notice of Appeal to be served by electronic delivery on:

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                                            /s/ Craig A. Holman
